     Case 2:25-cr-00541-DJH       Document 23     Filed 04/28/25   Page 1 of 1



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 6                     IN THE UNITED STATES DISTRICT COURT
 7                              FOR THE DISTRICT OF ARIZONA
 8
 9   United States of America,                       No. CR-25-00541-PHX-DWL
10                 Plaintiff,                        ORDER
11   v.
12   Adam Weinstein, et al.,
13                 Defendants.
14
           The Court having recused itself in the above-stated cause number and Judge Diane
15
     J. Humetewa having been randomly drawn,
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           IT IS ORDERED reassigning this case to Judge Diane J. Humetewa for all further
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     proceedings. All future pleadings shall bear the following case number:
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     CR-25-00541-PHX-DJH.
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           Dated this 28th day of April, 2025.
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